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 7

 8                                 UNITED STATES DISTRICT COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA

10                                     SAN FRANCISCO DIVISION

11   ELLIOTT LAM, individually and on behalf of           Case No. 3:22-cv-07336-JSC
     other members of the general public similarly
12   situated,                                            PROOF OF SERVICE
13                  Plaintiffs,                           Dept.:       Courtroom 8 – 19th Floor
                                                          Judge:       Hon. Jacqueline Scott Corley
14             v.
15   SAM BANKRMAN-FRIED, ZIXIAO
     “GARY” WANG, NISHAD SINGH and
16   CAROLINE ELLISON,
17                  Defendants.
18
     THIS DOCUMENT RELATES TO:
19
     Pierce v Bankman Fried et al.,
20   Case No. 3:22-cv-07444-JSC
21   Hawkins v Bankman Fried et al.,
     Case No. 3:22-cv-07620-JSC
22
     Jessup v Bankman Fried et al.,
23   Case No. 3:22-cv-07666-JSC
24   Papadakis v Bankman Fried et al.,
     Case No. 3:22-cv-00024-JSC
25
     Bhatia v Silvergate Bank,
26   Case No. 3:22-cv-07444-JSC
27   Magleby v Silvergate Bank, et al.,
     Case No. 3:23-cv-00669-JSC
28


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      Case 3:22-cv-07336-JSC Document 68-3 Filed 08/18/23 Page 2 of 5



 1   Keane v Silvergate Bank, et al.,
     Case No. 3:23-cv-00670-JSC
 2
     Rabbitte v. Sequoia Capital Operations, LLC, et
 3   al.,
     Case No. 3:23-cv-00669-JSC
 4
     Girschovich v. Sequoia Capital Operations,
 5   LLC, et al.,
     Case No. 3:23-cv-00945-JSC
 6
     Cabo v. Sequoia Capital Operations, LLC,
 7   Case No. 3:23-cv-02222-JSC
 8   Imbert v. Bankman-Fried, et al.,
     Case No. 3:23-cv-02475-JSC
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     2349611
      Case 3:22-cv-07336-JSC Document 68-3 Filed 08/18/23 Page 3 of 5



 1                                         PROOF OF SERVICE
 2   I am employed in the City and County of San Francisco, State of California in the office of a
     member of the bar of this court at whose direction the following service was made. I am over the
 3
     age of eighteen years and not a party to the within action. My business address is Keker, Van
 4   Nest & Peters LLP, 633 Battery Street, San Francisco, CA 94111-1809.

 5   On 8/18/2023, I served the following document(s):

 6              1. Defendant Ribbit Capital L.P.’S Administrative Motion to Consider
                   Whether Cases Should Be Related Pursuant to Civ. L. R. 3-12
 7
                2. Declaration of Nicholas D. Marais In Support of Defendant Ribbit Capital
 8
                   L.P.’S Administrative Motion to Consider Whether Cases Should Be
 9                 Related Pursuant to Civ. L. R. 3-12

10              3. [Proposed] Order Granting Defendant Ribbit Capital, L.P.’S Motion to
                   Consider Whether Cases Should Be Related Pursuant to Civ. L. R. 3-12
11
      by E-MAIL VIA PDF FILE, by transmitting on this date via e-mail a true and correct
12      copy scanned into an electronic file in Adobe “pdf” format. The transmission was reported
13      as complete and without error.

14                                              See Attachment A

15   Executed on 8/18/2023, at San Francisco, California.

16   I declare under penalty of perjury under the laws of the State of California that the above is true
     and correct.
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                                                   Michele Knox Thomas
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      Case 3:22-cv-07336-JSC Document 68-3 Filed 08/18/23 Page 4 of 5



 1                                     ATTACHMENT “A”

 2              3:23-cv-00655-JSC Rabbitte v. Sequoia Capital Operations, LLC et al
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 7               3:23-cv-03655-JD OKeefe v. Temasek Holdings (Private) Limited et al

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